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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

ROTHA CHHAY,

             Plaintiff,

v.                                                 CASE NO. 3:15-cv-696-J-34MCR

FAR EAST MARKET LLC a/k/a FAR
EAST ASIAN MARKET, a Florida
limited liability company; DARA NHEAN,
individually; and SOPHORN KES,
individually,

          Defendants.
_______________________________/

                          REPORT AND RECOMMENDATION1

      THIS CAUSE is before the Court on the Joint Motion for Approval of

Settlement Agreement (the “Motion”). (Doc. 16). The undersigned has reviewed

the filings in this case and finds that there is no need for a hearing. For the

reasons discussed herein, the undersigned recommends that the Motion be

GRANTED, the Settlement Agreement be APPROVED, and the case be



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          “Within 14 days after being served with a copy of [a report and
recommendation] a party may serve and file specific written objections to the proposed
findings and recommendations.” Fed. R. Civ. P. 72(b)(2). “A party may respond to
another party’s objections within 14 days after being served with a copy.” Id. A party’s
failure to serve and file specific objections to the proposed findings and
recommendations alters the scope of review by the District Judge and the United States
Court of Appeals for the Eleventh Circuit, including waiver of the right to challenge
anything to which no specific objection was not made. See Fed. R. Civ. P. 72(b)(3); 28
U.S.C. § 636(b)(1)(B); 11th Cir. R. 3-1; Local Rule 6.02.

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DISMISSED with prejudice.

      I.     Background

      On June 10, 2015, Plaintiff brought this action under the Fair Labor

Standards Act (“FLSA”), 29 U.S.C. § 201 et seq., seeking to recover, inter alia,

overtime compensation, liquidated damages, attorney’s fees, and costs for

Defendants’ alleged failure to compensate them at the statutory rate of one and

one-half times his regular rate of pay for any overtime hours worked. (Doc. 1.)

Following negotiations, Defendants, without admitting any liability, and Plaintiff,

without withdrawing any of his allegations, reached a settlement agreement to

resolve this action. (Doc. 16 at 1.) The parties also agreed to resolve separately

other claims Plaintiff did not assert in this action but, rather, addressed in a

demand letter to Defendants. (Id.) The parties ultimately reduced their

arrangement to two separate settlement agreements. The first settlement

agreement resolves only the FLSA claims brought by Plaintiff in this lawsuit and

is attached to the Motion. The second settlement agreement resolves all other

claims that Plaintiff has or may have against Defendants (including the claims

mentioned in the demand letter) and has remained confidential. (Id. at 1-2.)

      On November 23, 2015, the parties filed the present Motion (Doc. 16),

which was referred to the undersigned for a report and recommendation as to

whether the proposed settlement is a “fair and reasonable resolution of a bona

fide dispute” over FLSA issues.

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      II.    Standard

      Section 216(b) of the FLSA provides in part:

      Any employer who violates the provisions of section 206 or section
      207 of this title shall be liable to the employee or employees affected
      in the amount of . . . their unpaid overtime compensation . . . and in
      an additional equal amount as liquidated damages. . . . The court in
      such action shall, in addition to any judgment awarded to the plaintiff
      or plaintiffs, allow a reasonable attorney’s fee to be paid by the
      defendant, and costs of the action.

29 U.S.C. § 216(b).

      “[I]n the context of suits brought directly by employees against their

employer under section 216(b) . . . the district court may enter a stipulated

judgment after scrutinizing the settlement for fairness.” Lynn’s Food Stores, Inc.

v. United States, 679 F.2d 1350, 1353 (11th Cir. 1982). Judicial review is

required because the FLSA was meant to protect employees from substandard

wages and oppressive working hours, and to prohibit the contracting away of

these rights. Id. at 1352. “If a settlement in an employee FLSA suit does reflect a

reasonable compromise over issues, such as FLSA coverage or computation of

back wages, that are actually in dispute,” the district court is allowed “to approve

the settlement in order to promote the policy of encouraging settlement of

litigation.” Id. at 1354. “FLSA requires judicial review of the reasonableness of

counsel’s legal fees to assure both that counsel is compensated adequately and

that no conflict of interest taints the amount the wronged employee recovers



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under a settlement agreement.” Silva v. Miller, 307 Fed. App’x 349, 351 (11th

Cir. Jan. 13, 2009) (per curiam).

      In Bonetti v. Embarq Management Company, the court analyzed its role in

determining the fairness of a proposed settlement under the FLSA, and

concluded:

      [I]f the parties submit a proposed FLSA settlement that, (1)
      constitutes a compromise of the plaintiff’s claims; (2) makes full and
      adequate disclosure of the terms of settlement, including the factors
      and reasons considered in reaching same and justifying the
      compromise of the plaintiff’s claims; and (3) represents that the
      plaintiff’s attorneys’ fee was agreed upon separately and without
      regard to the amount paid to the plaintiff, then, unless the settlement
      does not appear reasonable on its face or there is reason to believe
      that the plaintiff’s recovery was adversely affected by the amount of
      fees paid to his attorney, the Court will approve the settlement
      without separately considering the reasonableness of the fee to be
      paid to plaintiff’s counsel.

715 F. Supp. 2d 1222, 1228 (M.D. Fla. 2009). Other courts in this district have

indicated that when attorney’s fees are negotiated separately from the payment to

plaintiff(s), “an in depth analysis [of the reasonableness of the fees] is not

necessary unless the unreasonableness is apparent from the face of the

documents.” King v. My Online Neighborhood, Inc., 2007 WL 737575, at *4 (M.D.

Fla. Mar. 7, 2007); McGinnis v. Taylor Morrison, Inc., 3:09-cv-1204-J-32MCR

(M.D. Fla. Jan. 23, 2010).

      III.   Analysis

      Pursuant to the parties’ settlement, Plaintiff will receive $5,000.00 for

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unpaid overtime wages and $5,000.00 for liquidated damages, and Plaintiff’s

counsel will receive $4,000.00 for attorney’s fees and costs.2 (Doc. 16 at 2; 16-1

at 2.) The parties represent that the settlement is a fair and reasonable

compromise of Plaintiff’s claims for the following reasons:

      This compromise takes into account Plaintiff’s awareness of
      witnesses who would offer inconsistent testimony regarding his
      hours, and his concern that a jury might find that [he] worked
      significantly fewer hours than he claimed, and over significantly
      fewer weeks. While well-aware of the potential recovery were a jury
      to credit his claims, Plaintiff prefers this certain result to the
      uncertainties he would face in continued litigation and before a jury.


(Id. at 6-7.) Further, “Plaintiff’s alleged back pay in a two-year limitations period,

due to a gap in employment, only encompassed eleven months, and so his

potential damages absent a finding that Defendants willfully violated the FLSA

were $15,331.14.” (Id. at 6.)

      The undersigned has reviewed the proposed settlement and finds that it

represents “a fair and reasonable resolution of a bona fide dispute” over

provisions of the FLSA. Lynn’s Food, 679 F.2d at 1355. Plaintiff’s recovery

appears reasonable given the disputed issues in this case. Moreover, Plaintiff is

represented by counsel. Thus, the undersigned finds that the settlement reflects

“a reasonable compromise of disputed issues [rather] than a mere waiver of



      2
         Plaintiff claims that he was owed $22,299.84 in overtime wages plus $44,599.68
in liquidated damages. (Doc. 16 at 6.)

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statutory rights brought about by an employer’s overreaching.”3 Lynn’s Food

Stores, 679 F.2d at 1354.

      Moreover, there is no reason to believe that the amount of agreed-upon

attorney’s fees and costs affected Plaintiff’s recovery. The parties represent that

the fees and costs were negotiated separately from and without regard to

Plaintiff’s recovery. (Doc. 16 at 7.) Therefore, there is no reason to scrutinize the

fees and costs. See Bonetti, 715 F. Supp. 2d at 1228. However, there is nothing

unreasonable from the face of the materials submitted before the Court.4

Therefore, the undersigned recommends that no conflict of interest taints the

amount to be recovered by Plaintiff. The undersigned also recommends that

counsel is being adequately compensated.

      Accordingly, it is respectfully RECOMMENDED that:

      1.     The Motion (Doc. 16) be GRANTED.

      2.     The Settlement Agreement be APPROVED.

      3.     The case be DISMISSED WITH PREJUDICE.

      3
        The parties have entered into a separate, second settlement agreement that
resolves Plaintiff’s remaining non-FLSA claims. Court approval is unnecessary with
respect to the second settlement agreement. See, e.g., Bernard v. Globe Wireless,
LLC, Case No.: 6:10-cv-515-Orl-28GJK, 2011 WL 653643 at *1, n.1 (M.D. Fla. Jan. 27,
2011).
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        Since the undersigned is not conducting an in-depth analysis of the
reasonableness of the fees and costs, this case is distinguishable from a case in which
such analysis is necessary. This case provides no precedent for such a case since an
in-depth analysis could produce a different result.

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      DONE AND ENTERED at Jacksonville, Florida, on December 2, 2015.




Copies to:

The Honorable Marcia Morales Howard
United States District Judge

Counsel of Record




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